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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION


UNITED STATES OF AMERICA, ex rel.,              §
TOMPKINS,                                       §
                                                §
                Plaintiff,                      §
                                                §
v.                                              §    Civil Action No. 3:12-CV-1904-L
                                                §
ABDULLAH N. ADHAM, et al.,                      §
                                                §
                Defendants.                     §

                             MEMORANDUM OPINION AND ORDER

         Before the court is Plaintiff Jimmy M. Tompkins’s Notice of Voluntary Dismissal.     The

United States of America consents pursuant to 31 U.S.C. § 3730(b)(1) to dismissal of this civil

action without prejudice and has set forth it reasons.         Defendants Abdullah N. Adham

(“Adham”) and Louise Lamarre (“Lamarre”) object to a voluntary dismissal of this action

without prejudice.    These Defendants, however, do not object to the dismissal of this action

with prejudice.    The court, for the reasons that follow, grants Plaintiff Jimmy M. Tompkins’s

Notice of Voluntary Dismissal and dismisses this action without prejudice.

I.       Background

         Defendants Adham and Lamarre have both filed motions to dismiss pursuant to Rule

12(b)(6) of the Federal Rules of Civil Procedure.         They contend that their motions are

well-founded, that the motions will be granted ultimately and dismissed with prejudice, and that

they have incurred substantial expenses and costs in conjunction with the preparation and filing

of the motions.    These Defendants are convinced that a dismissal without prejudice will allow

Plaintiff to retain another attorney and file a new lawsuit that would require them to “start again

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from scratch.”     Objections of Defs. to Pl.’s Not. of Voluntary Dismissal 2.              Defendants

contend that a dismissal without prejudice, in light of the time and expense associated with filing

the motions, is unjust. The court disagrees.

II.     Standard for Voluntary Dismissal

        Plaintiff’s notice of voluntary dismissal is governed by Federal Rule of Civil Procedure

41(a)(2). As Defendants Harold Wagner and Benedict O. Olusola have filed answers in this

action and Defendants have not stipulated to the dismissal of the action, such action “may be

dismissed at the Plaintiff’s request only by court order, on terms that the court considers proper.”

Id. Ordinarily, a motion for voluntary dismissal “should be freely granted unless the non-moving

party will suffer some plain legal prejudice other than the mere prospect of a second lawsuit.”

Elbaor v. Tripath Imaging, Inc., 279 F.3d 314, 317 (5th Cir. 2002) (citation omitted). Rule

41(a)(2) evinces a preference for dismissal without prejudice, as it provides, “Unless the order

states otherwise, a dismissal under this paragraph (2) is without prejudice.” Legal prejudice will

exist when an affirmative defense would be lost. Elbaor, 279 F.3d at 318. Legal prejudice may

also exist if the nonmovant could lose a forum non conveniens defense. Ikospentakis v. Thalassic

S. S. Agency, 915 F.2d 176, 179 (5th Cir. 1990). Finally, legal prejudice may exist if “a plaintiff

fails to seek dismissal until a late stage of trial, after the defendant has exerted significant time and

effort.” Davis v. Huskipower Outdoor Equip. Co., 936 F.2d 193, 199 (5th Cir. 1991). Whether

legal prejudice exists under these circumstances is a determination to be made by the court using

its sound discretion. If the court determines that legal prejudice exists, it may “refuse to grant a

voluntary dismissal.” Id. (citations omitted). “[T]he mere prospect of a second lawsuit is not

enough prejudice to a defendant to warrant denial of a motion to dismiss without prejudice.”

United States ex rel. Doe v. Dow Chemical Co., 343 F.3d 325, 330 (5th Cir. 2003).

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III.   Discussion

       The court fully recognizes that Defendants Adham and Lamarre incurred some costs and

expended time in preparing the motions to dismiss. Defendants raise the issue of possible

relitigation of this action if it is dismissed without prejudice; however, this alone is insufficient to

warrant the denial of a motion to dismiss without prejudice. Id. Also, nothing in the record

indicates that Defendants Adham and Lamarre have lost any affirmative defense. Defendants

have not even filed an answer and therefore have not set forth any affirmative defense in a

responsive pleading. Further, nothing has been provided to the court that Defendants Adham or

Lamarre could lose a forum non conveniens defense. Moreover, Plaintiff is not seeking dismissal

at the “eleventh hour” after Adham and Lamarre have expended significant time and effort. In

any event, the court has reviewed the motions to dismiss, and they are based on the sufficiency of

the pleadings. Defendants contend that Plaintiff has not set forth the allegations of his Complaint

with the requisite specificity as required in Bell Atlantic Corporation v. Twombly, 550 U.S. 544

(2007), and Ashcroft v. Iqbal, 556 U.S. 662 (2009). Assuming this to be the case, the court would

allow Plaintiff an opportunity to replead before dismissing the action. The court cannot say at this

stage that Plaintiff is unable to amend his pleading with the requisite specificity to state a claim

upon which relief can be granted against these Defendants.

       After examining the applicable law, the court determines that the possibility of filing

another lawsuit by Plaintiff is insignificant, and that Defendants Adham and Lamarre fail to show

that they will lose an affirmative defense or a forum non conveniens defense. Further, as this case

is relatively new and a scheduling order was issued only two months ago, Defendants Adham and

Lamarre have not shown that the request for voluntary dismissal was filed at “a late stage of trial,”

after they had expended considerable time and effort. For these reasons, Defendants Adham and

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Lamarre fail to show that dismissal without prejudice will cause them to suffer “plain legal

prejudice.” Accordingly, to dismiss with prejudice, as requested by Defendants Adham and

Lamarre, is unwarranted.

IV.    Conclusion

       For the reasons herein stated, the court grants Plaintiff Jimmy M. Tompkins’s request, as

set forth in his Notice of Voluntary Dismissal, to dismiss this action without prejudice. The court,

for the reasons stated, overrules the Objections of Defendants Adham and Lamarre to Plaintiff’s

Notice of Voluntary Dismissal. Accordingly, the court dismisses without prejudice this action.

       It is so ordered this 20th day of December, 2012.



                                                     _________________________________
                                                     Sam A. Lindsay
                                                     United States District Judge




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